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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                       SOUTHERN DISTRICT OF MISSISSIPPI
                              NORTHERN DIVISION

 IN RE JACKSON WATER CASES                            CAUSE NO. 3:23-CV-614-CWR-LGI

 THIS DOCUMENT RELATES TO ALL
 PLAINTIFFS

      DEFENDANTS’ NOTICE OF COMPLIANCE WITH THE MAGISTRATE’S
                      DECEMBER 19, 2023 ORDER

        On December 19, 2023, the Magistrate Judge in this litigation issued an Order (Doc. 172).

 In that Order, the Magistrate Judge instructed the parties to submit their suggestions for

 organization of a specially tailored, modified CMO on or before January 19, 2024. (Id. at 11).

        Defendants hereby give notice that they have complied with the Magistrate’s Order and

 submitted to the Court via email and via this filing their proposed CMO (attached hereto as

 Exhibit A), along with their proposed Plaintiff’s Fact Sheet and authorization set (attached hereto

 as Exhibit B). In addition, Defendants submitted correspondence to the Court supporting

 Defendants’ submissions (attached hereto as Exhibit C).

        Respectfully submitted, this the 19th day of January, 2024.

                                              MISSISSIPPI STATE DEPARTMENT OF
                                              HEALTH


                                       By:     /s/ Meade W. Mitchell
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                                              ONE OF ITS ATTORNEYS

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                                 CERTIFICATE OF SERVICE

       I, Meade W. Mitchell, one of the attorneys for Defendant Mississippi State Department

of Health, do hereby certify that I have this day served a true and correct copy of the above and

foregoing document by filing it using the ECF system which sent notice of such filing to all

counsel of record.


        SO CERTIFIED, this the 19th day of January, 2024.



                                              /s/ Meade W. Mitchell
                                              MEADE W. MITCHELL




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